        Case 1:22-cr-00354-RCL Document 54 Filed 09/01/23 Page 1 of 4




                        UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA               )
                                       )
                                       )
v.                                     )
                                       )       Criminal No. 1:22-cr-00354-RCL-1 and 2
RICHARD SLAUGHTER, and
CADEN GOTTFRIED,                       )
                                       )
                   Defendants          )
                                       )

DEFENDANTS MOTION TO DISMISS CERTAIN COUNTS DUE TO
MULTIPLICITY


COMES NOW Defendants Rick Slaughter and Caden Gottfried, by and through
undersigned counsel John Pierce, with this motion to dismiss certain Counts on
grounds of multiplicity.
      Several of these counts are lesser-included offenses of the others.
                                 INTRODUCTION
      Count 6 accuses defendants of entering and remaining in a restricted area. It

is a lesser-included offense of Count 5, which is entering and remaining in a

restricted area with a weapon. And both counts 5 and 6 are lesser-included

offenses of Count 7 (disorderly conduct inside a restricted area with a weapon).

Count 8 alleges disorderly conduct in a restricted area and is, independently, a

lesser-included offense of Count 7 (disorderly conduct inside a restricted area with

a weapon).

      Multiplicity arises when “an indictment charges the same offense in more

than one count.” United States v. Mahdi, 598 F.3d 883, 887 (D.C. Cir. 2010),
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         Case 1:22-cr-00354-RCL Document 54 Filed 09/01/23 Page 2 of 4




quoting United States v. Weathers, 186 F.3d 948, 951 (D.C. Cir. 1999). The

Double Jeopardy Clause of the Constitution protects against “multiple punishments

for the same offense.” Weathers, 186 F.3d at 951, cert. denied, 529 U.S. 1005

(2000); U.S. Const. amend. V, cl. 2. Also, courts have recognized that charging the

same offense in multiple counts can “unfairly increas[e] a defendant’s exposure to

criminal sanctions” because a jury may conclude that given the number of charges,

the defendant must be guilty of something. United States v. Clarke, 24 F.3d 257,

261 (D.C. Cir. 1994), quoting United States v. Harris, 959 F.2d 246, 250 (D.C. Cir.

1992), abrogated on other grounds, United States v. Stewart, 246 F.3d 728 (D.C.

Cir. 2001); see also United States v. Morrow, 102 F. Supp. 3d 232, 246 (D.D.C.

2015) (multiplicitous charges may suggest to a jury “that a defendant has

committed not one but several crimes”), quoting United States v. Reed, 639 F.2d

896, 904 (2d Cir. 1981); United States v. Phillips, 962 F. Supp. 200, 202 (D.D.C.

1997).

      If Defendants are convicted of Count 7, they will obviously be guilty of

Count 8 and Count 5 and 6 as well. In the words of the Supreme Court, the inquiry

turns on whether proof of one of “necessarily includes proof of” the other. Ball v.

United States, 470 U.S. 856, 862 (1985).

      The counts of defendants’ indictment expose them to double jeopardy for the

same alleged act. The Double Jeopardy Clause protects criminal defendants against

both successive punishments and prosecutions for the same criminal offense.
                                           2
           Case 1:22-cr-00354-RCL Document 54 Filed 09/01/23 Page 3 of 4




United States v. Dixon, 509 U.S. 688, 696 (1993) (citing North Carolina v. Pearce,

395 U.S. 711 (1969)); see also United States v. Davenport, 519 F.3d 940, 943 (9th

Cir. 2008); United States v Mancuso, 718 F.3d 780, 791 (9th Cir. 2013). When

two different criminal statutes are violated, “the double jeopardy prohibition is

implicated when both statutes prohibit the same offense or when one offense is a

lesser included offense of the other.” Rutledge v. United States, 517 U.S. 292, 297

(1996)).


      ACCORDINGLY, these counts must be dismissed and/or consolidated into

one or two counts.



Dated: September 1, 2023                                        Respectfully Submitted,

                                                                          /s/ John M. Pierce
                                                                              John M. Pierce
                                                                       21550 Oxnard Street
                                                                       3rd Floor, PMB #172
                                                                 Woodland Hills, CA 91367
                                                                       Tel: (213) 400-0725
                                                         Email: jpierce@johnpiercelaw.com




                                          3
          Case 1:22-cr-00354-RCL Document 54 Filed 09/01/23 Page 4 of 4



CERTIFICATE OF SERVICE

       I, John M. Pierce, hereby certify that on this day, September 1, 2023, I caused a copy of the

foregoing document to be served on all counsel through the Court’s CM/ECF case filing system.



                                                /s/ John M. Pierce
                                                John M. Pierce




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